Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 1 of 13
                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                                   July 19, 2024
                                                                Nathan Ochsner, Clerk
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 2 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 3 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 4 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 5 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 6 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 7 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 8 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 9 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 10 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 11 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 12 of 13
Case 4:19-cv-04211 Document 436 Filed on 07/19/24 in TXSD Page 13 of 13
